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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG MDL 2179
“DEEPWATER HORIZON” IN THE

GULF OF MEXICO, ON APRIL 20, 2010 SECTION: “J”
This Document Applies to: JUDGE BARBIER.

MAG. JUDGE SHUSHAN
No. 12-970, Bon Secour Fisheries, Inc., et al.
v. BP Exploration & Production Inc., et al.

ORDER
CONSIDERING Jon Andry, Glenn J. Lemer, and AndryLerner LLC’s (collectively
“The AndryLermer Interests”) Motion to Expedite Consideration of Their Objections to, and
Motion to Amend, the Order Granting the Special Master Additional Powers and For a Hearing;
IT IS HEREBY ORDERED that the Motion be and is hereby GRANTED.
IT IS FURTHER ORDERED that the AndryLerner Interests will appear before this
Court on the ___ day of November, 2013 to be heard on their Objections to, and Motion to

Amend, the Order Granting the Special Master Additional Powers.

New Orleans, Louisiana this day of November, 2013.

UNITED STATES DISTRICT JUDGE

4264155.1
